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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           VICTORIA DIVISION


STATE OF TEXAS, et al.,

                  Plaintiffs,
v.                                            Civil Action No. 6:23-cv-00007

U.S. DEPARTMENT OF HOMELAND
SECURITY, et al.,

                  Defendants.



         MEMORANDUM OF LAW OF IMMIGRATION REFORM LAW INSTITUTE
                     AS AMICUS CURIAE IN SUPPORT OF
             PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION




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                              SUMMARY OF ARGUMENT

       This Court should grant Plaintiffs’ motion for a preliminary injunction barring

Defendants from programmatically paroling aliens into the United States. The text of the

governing statute requires that parole be given “only on a case-by-case basis for …

significant public benefit.” Defendants attempt to justify their parole program by

claiming that paroling tens of thousands of aliens from a list of countries provides the

alleged public benefit of reducing “irregular migration” by making it “regular.” Even if

this result is of benefit to the public, however, the parole of any individual alien does not

serve it significantly. At best, paroling any individual alien, and also paroling tens of

thousands of other, similar aliens, provides the alleged significant benefit. But even so,

paroling the individual alien does not significantly increase the public benefit of giving

en masse parole to all the others, and thus itself provides no significant public benefit. In

short, Defendants, by their own account, are not paroling any individual alien on the basis

that doing so will significantly benefit the public.

       Defendants’ justification for their parole program also runs counter to the text and

structure of the statute, the legislative history, contemporary interpretations by the agency

charged with enforcing the provision, and recently enacted regulations interpreting the

statute. For example, the rule governing parole for entrepreneurs properly construes the

parole statute as requiring a showing that a particular alien’s presence in the United States

provides a significant public benefit. Because Defendants’ parole program does not

comport with the statutory requirements for parole, this Court should grant Plaintiffs’

motion for a preliminary injunction.

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                                       ARGUMENT

I.     Because, even according to Defendants, paroling any individual alien
       produces no significant public benefit, Defendants’ parole program violates
       8 U.S.C. § 1182(d)(5)(A).

       The current language in 8 U.S.C. § 1182(d)(5)(A), which authorizes parole “only

on a case-by-case basis for urgent humanitarian reasons or significant public benefit,”

was added by section 602(a) of the Illegal Immigration Reform and Immigrant

Responsibility Act of 1996 (“IIRIRA”)1 “to limit the scope of the parole power and

prevent the executive branch from using it as a programmatic policy tool.” Texas v. Biden

(MPP), 20 F.4th 925, 947 (5th Cir. 2021), rev’d on other grounds, 142 S. Ct. 2528

(2022). The statute’s “only on a case-by-case basis” language calls for an individualized

determination that the parole of “any [individual] alien applying for admission to the

United States” serves an “urgent humanitarian” purpose or that the presence of that alien

would provide a “significant public benefit.” 8 U.S.C. § 1182(d)(5)(A).

       This individualized understanding of the parole authority is buttressed by the text

that follows, which directs that “the alien” temporarily paroled “shall forthwith return or

be returned to the custody from which he was paroled and thereafter his case shall

continue to be dealt with in the same manner as that of any other applicant for admission

to the United States” “when the purposes of such parole shall … have been served[.]” Id.


       1
         Title VI of division C of Pub. L. No. 104-208, 110 Stat. 3009, 3009-689; see
also § 203(f) of the Refugee Act of 1980, Pub. L. No. 96-212, 94 Stat. 102, 107-08
(codified at 8 U.S.C. § 1182(d)(5)(B)) (providing that DHS “may not parole into the
United States an alien who is a refugee unless [DHS] determines that compelling reasons
in the public interest with respect to that particular alien require that the alien be paroled
into the United States rather than be admitted as a refugee”) (emphasis added).
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(emphasis added). This statutory language makes it abundantly clear that any applicant

for parole must show that his or her own presence in the United States satisfies either the

“urgent humanitarian” reason or “significant public benefit” standard for parole.

       In contrast to an individualized test for parole, Defendants attempt to justify the

parole program challenged here by suggesting that it creates a safe and orderly means of

migrating to the United States from the four covered countries for up to 30,000 aliens per

month, and that providing this migration path will reduce the number of aliens seeking to

enter the United States irregularly, reduce the strain on DHS personnel and resources, and

thereby improve border security. See, e.g., Implementation of a Parole Process for

Cubans, 88 Fed. Reg. 1266, 1267-69 (Jan. 9, 2023); see also Plaintiff States’ Motion for

Preliminary Injunction (“PI Motion”) at 16-17 (discussing Defendants’ justifications for

the program). But, as Plaintiffs point out in their PI motion, see PI Motion at 17,

Defendants concede that the purported benefits of the Program can only be attained if a

sufficient number of aliens are processed for parole en masse. See Implementation of

Changes to the Parole Process for Venezuelans, 88 Fed. Reg. 1279, 1280 (Jan. 9, 2023)

(finding a 24,000 numerical limit for Venezuelans insufficient to provide an adequate

alternative to crossing the border illegally and replacing the prior limit with a monthly

limit of 30,000 travel authorizations spread across the four covered countries so that the

program may “serve[] as a meaningful alternative to irregular migration.”).

       Because, on Defendants’ view, the public benefit of paroling any individual alien

depends on the aggregate effect of paroling many similarly-situated aliens en masse, the

public benefit of paroling any particular alien is insignificant; if that alien were not

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paroled, the public benefit allegedly produced by paroling tens of thousands of similar

aliens would not be appreciably lessened. In other words, on Defendants’ view, there is

no significant public benefit in paroling any particular alien; at best, the alleged

significant benefit only comes from paroling that alien and tens of thousands of other

aliens en masse. And the significant public benefit only comes from the en masse parole,

not from the parole of any individual alien. In short, Defendants, by their own account,

are not paroling any individual alien on the basis that doing so will significantly benefit

the public.

       Further, Defendants’ parole program inevitably will violate the requirement that

“when the purposes of such parole shall … have been served,” “the alien shall forthwith

return or be returned to the custody from which he was paroled[.]” 8 U.S.C.

§ 1182(d)(5)(A). The purpose of Defendants’ parole program is to reduce “irregular

migration” by making it “regular.” When that purpose—which, as shown, can only be

served by en masse parole—has been served, any individual alien, under this

requirement, should be returned to custody. But if they were all returned to custody, the

purpose of Defendants’ parole program would be frustrated, since returning them all to

custody would remove the incentive of aliens abroad to choose the “regular” migration

option. In other words, Defendants must inevitably violate the return-to-custody

requirement of § 1182(d)(5)(A), or fatally undermine their own their parole program.




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II.     Legislative history confirms that Congress intended the parole authority to be
        exercised only on an individual basis.

        The legislative history leading up to the enactment of IIRIRA reflects Congress’s

disapproval of the Executive Branch’s overuse of the parole authority. Plaintiffs have

identified legislative history that criticized parole abuse. See PI Motion at 7 & 15

(quoting H.R. Rep. No. 104-469, Part 1). Additionally, and more specifically, the House

Judiciary Committee Report complained of “recent abuse of the parole authority” by the

Clinton administration in “using the parole authority to admit up to 20,000 Cuban

nationals annually.” H.R. Rep. No. 104-469, pt. 1 at 140 (1996) (emphasis added). Here,

the parole program being challenged permits the parole of up to 30,000 aliens per month.

See, e.g., 88 Fed. Reg. at 1280 (instituting “a monthly limit of 30,000 travel

authorizations in the aggregate spread across” aliens from the four covered countries).

Thus, the parole program challenged here is more than an order of magnitude bigger than

the parole abuse complained of by the House Judiciary Committee in 1996.

        Further, the House Judiciary Committee report included examples of what sorts of

situations would warrant humanitarian or public interest parole:

        Parole should only be given on a case-by-case basis for specified urgent
        humanitarian reasons, such as life-threatening humanitarian medical
        emergencies, or for specified public interest reasons, such as assisting the
        government in a law-enforcement-related activity. It should not be used to
        circumvent Congressionally-established immigration policy or to admit
        aliens who do not qualify for admission under established legal immigration
        categories.

H.R. Rep. No. 104-469, pt. 1 at 141 (emphasis added). The Senate Judiciary Committee

Report similarly stated that its parole reform provision was intended to “reduce[] the


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abuse of parole” and “[t]ighten[] the Attorney General’s parole authority,” and that “[t]he

committee bill is needed to address ... the abuse of humanitarian provisions such as

asylum and parole.” S. Rep. No. 104-249 at 2 (1996).

       In sum, the legislative history supports reading 8 U.S.C. § 1182(d)(5)(A) as

requiring an individualized showing of an “urgent humanitarian” need or a “significant

public benefit” resulting from the parole of an individual alien. Nothing in the legislative

history indicates that Congress intended to authorize the kind of en masse parole “abuse”

it was, in fact, seeking to reign in.

III.   Contemporaneously-enacted agency rules comported with a narrow,
       individualized approach to parole, particularly with respect to aliens
       amenable to expedited removal, and other, current regulations still take that
       approach.

       Within six months of the passage of IIRIRA, the Department of Justice, which

preceded the Department of Homeland Security (“DHS”) as the agency charged with

enforcement of the Immigration and Nationality Act, amended the regulations governing

parole to comport with the newly enacted law. See Inspection and Expedited Removal of

Aliens; Detention and Removal of Aliens; Conduct of Removal Proceedings; Asylum

Procedures, 62 Fed. Reg. 10312 (Mar. 6, 1997). In that rulemaking, the agency restricted

parole for aliens who (like those covered by Defendants’ parole program) are subject to

expedited removal:

       because section 235(b)(1)(B)(iii)(IV) of the Act [8 U.S.C.
       § 1225(b)(1)(B)(iii)(IV)] requires that an alien in expedited removal
       proceedings “shall be detained pending a final determination of credible fear
       of persecution and, if found not to have such a fear, until removed,” the
       Department feels that parole is appropriate only in the very limited
       circumstances specified in § 235.3(b)(4).

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62 Fed. Reg. at 10320. The newly promulgated 8 C.F.R. § 235.3(b)(4), in turn, permitted

parole of aliens awaiting a credible fear interview only where “parole is required to meet

a medical emergency or is necessary for a legitimate law enforcement objective.” 62 Fed.

Reg. at 10356 (setting forth newly promulgated 8 C.F.R. § 235.3(b)(4)(ii)).2

       These medical emergency and law enforcement objective restrictions on parole

remained in place for aliens subject to expedited removal (and who had not established a

credible fear of persecution, like the aliens covered by the parole program) until March

29, 2022, when DHS issued an interim final rule removing the “medical emergency” or

“legitimate law enforcement objective” language and replacing it with the following:

“Parole of such alien shall only be considered in accordance with section 212(d)(5) of the

Act and § 212.5(b) of this chapter.” Procedures for Credible Fear Screening and

Consideration of Asylum, Withholding of Removal, and CAT Protection Claims by

Asylum Officers, 87 Fed. Reg. 18078, 18220 (Mar. 29, 2022) (revising 8 C.F.R.

§ 235.3(b)(2)(iii), (b)(4)(ii), and (c)).

       Even now, under the more general parole regulations applicable to detained

arriving aliens,3 the agency’s rule still depends on circumstances particular to a specific



       2
          The same restrictions on parole applied to aliens subject to expedited removal
who did not make a claim of asylum. See id. at § 235.3(b)(2)(iii), (5)(i).
        3
          The agency explained that only those “aliens found to have a credible fear will
be subject to the generally applicable detention and parole standards contained in the
Act,” i.e., those standards set forth in 8 C.F.R. § 212.5(a). 62 Fed. Reg. at 10320.
“[P]arole authority is specifically limited while a credible fear determination is pending
under § 235.3(b)(4), [but] those found to have a credible fear and referred for a hearing
under section 240 of the Act will be subject to the rule generally applicable to arriving
aliens in § 235.3(c).” 62 Fed. Reg. at 10320.
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alien. For example, under the post-IIRIRA regulation, parole is deemed appropriate for:

(1) aliens who have a serious medical condition; (2) women who are pregnant; (3)

juvenile aliens; (4) witnesses in judicial, administrative, or legislative proceedings; and

(5) aliens whose continued detention is not in the public interest. See 62 Fed. Reg. at

10348 (8 C.F.R. § 212.5(a)). Similar restrictions remain for aliens subject to mandatory

detention under current 8 C.F.R. § 235.3(b) or (c). See 8 C.F.R. § 212.5(b) (2023).

Although these restrictions on parole authority do not directly apply to all other arriving

aliens, see 62 Fed. Reg. at 10348 (§ 212.5(b)), the regulations still require that parole be

granted “in accordance with” 8 U.S.C. § 1182(d)(5)(A), and include some circumstances

in which denial of parole is mandatory. See id.; see also 8 C.F.R. § 212.5(c) (2023).

       Other current regulations reflect DHS’s understanding that the particular alien’s

presence in the United States must provide a significant public benefit in order for that

alien to qualify for parole under 8 U.S.C. § 1182(d)(5)(A). For example, when DHS

promulgated the International Entrepreneur Rule in 2017, it explained that its

adjudicators would be required to determine, inter alia, “whether the specific applicant’s

parole would provide a significant public benefit[.]” 82 Fed. Reg. 5238, 5239 (Jan. 17,

2017); see also id. at 5250 (providing that DHS will evaluate “whether granting parole to

a particular individual would provide a significant public benefit”); id. at 5260

(“Imposing a limit on the number of entrepreneurs who may be granted parole based on

the same start-up entity is thus consistent with ensuring that each entrepreneur’s parole

will provide a significant public benefit.”). Indeed, the regulation governing parole for



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entrepreneurs requires DHS to find “that an applicant’s presence in the United States will

provide a significant public benefit[.]” 8 C.F.R. § 212.19(d).

        In sum, the agency’s contemporaneous interpretation of 8 U.S.C. § 1182(d)(5)(A)

required an individualized showing of an “urgent humanitarian” need or a “significant

public benefit” resulting from the parole of an individual alien. Nothing in the

contemporaneous interpretations suggested that an insignificant public benefit aggregated

with the purported benefit of en masse parole would be sufficient to meet the statutory

standard for parole under § 1182(d)(5)(A). Other, current regulations reaffirm that there

must be something particular about the specific alien’s presence in the United States that

would provide a significant public benefit in order to satisfy the standard under the parole

statute. In short, DHS’s latest notices regarding its parole program, which weigh the

public benefit in the aggregate and do not depend on anything specific to a particular

alien, are inconsistent with both prior and current regulatory interpretations of the

requirements of 8 U.S.C. § 1182(d)(5)(A).

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                                    CONCLUSION

      For the foregoing reasons, the Court should grant Plaintiffs’ motion for a

preliminary injunction.

                                         Respectfully submitted on March 3, 2023,

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                           CERTIFICATE OF SERVICE

      I hereby certify that on March 3, 2023, a true and accurate copy of the foregoing

document was filed electronically (via CM/ECF) and served on all counsel of record.

                                            /s/ Matt Crapo
